USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 1 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 2 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 3 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 4 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 5 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 6 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 7 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 8 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 9 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 10 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 11 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 12 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 13 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 14 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 15 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 16 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 17 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 18 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 19 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 20 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 21 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 22 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 23 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 24 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 25 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 26 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 27 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 28 of 29
USDC IN/ND case 1:10-cv-00365-JD document 95-1 filed 08/07/15 page 29 of 29
